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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                    NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                           REBECCA M. RYDER, M.D. FOR WAVE 6

         Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert motion

filed against Rebecca M. Ryder for Ethicon Wave 1, Dkt. 2016 (motion), 2021 (memorandum in support)

and in Mullins, et al. v Ethicon, Inc., et al., USDC SDWV consolidated case number 2:12-cv-02952, Dkt.

1159 (motion), 1160 (memorandum in support). Plaintiffs respectfully request that the Court exclude

Rebecca M. Ryder’s testimony, for the reasons expressed in the Wave 1 and Mullins briefing. This notice

applies to the following Wave 6 cases identified in Exhibit A attached hereto.

Dated: October 19, 2017                                  Respectfully submitted,

                                                         /s/ D. Renee Baggett
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                               EXHIBIT A

Meszaros, Mary                           2:12-cv-09246




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                            /s/ D. Renee Baggett_______________
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